           Case 8-18-77715-ast
FILED: SUFFOLK   COUNTY CLERK  Doc06/11/2018
                                   31 Filed 02/13/19 Entered
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                                                                       INDEX NO.                                                                                                                    600922/2015
NYSCEF DOC. NO. 110                                                                                                                                              RECEIVED NYSCEF: 06/11/2018



         SUPREME               COURT             OF THE            STATE        OF     NEW YORK
                                                                                                                                                            ORIGINAL
         COUNTY             OF SUFFOLK
         --__________ ___---------------------------------------------------------X

         THE      BANK           OF     NEW YORK                    MELLON               FKA         THE               BANK                        Index      No.:     600922/2015
         OF      NEW        YORK,          AS         TRUSTEE             FOR      THE           CERTIFICATE

         HOLDERS               OF         THE           CWABS              INC.,        ASSET-BACKED
         CERTIFICATES,                    SERIES              2007-1,


                                                                                    Plaintiff,

                                                          -against-                                                                                NOTICE             OF ENTRY

         BALDEO              RAMSAMOOJ,                          JESSICA            BOISSARD,                           JOHN                       Premises          Address:
         DOE       (Name        Refused),                                                                                                          74 YARNELL                STREET
                                                                                                                                                   BRENTWOOD,                        NY     11717
                                                                                    Defendant(s).

         _______________-________________-----____________-----------------------X

         COUNSEL:


         PLEASE            TAKE        NOTICE             that     the    within       is a true              copy        of    a Judgment             of   Foreclosure              and    Sale,
         dated     April      17,    2018,        and     duly      entered        in the        office           of the        Clerk       of   Suffolk        County          on    May     8,
         2018.




         DATED:                     May         24,    2018

                                    Fishkill,         New        York

                                                                                                              /
                                                                                                          /       gj                 r'
                                                                                                                                            )
                                                                                                                                                     t (
                                                                                             Lauren                G. Bernard,              Èsq.

                                                                                             ROSICKI,                      ROSICKI               4   ASSOCIATES,                     P.C.

                                                                                             Attorney                   for     Plaintiff
                                                                                             Fishkill                  Office       2 Summit           Court,        Suite      301

                                                                                             Fishkill,                 NY       12524
                                                                                             845.897.1600




         To:


         BALDEO             RAMSAMOOJ
         11716       111TH       AVENUE
         SOUTH             OZONE          PARK,          NY       11420


         ERNEST            E. RANALLI,                  ESQ.

         THE      RANALLI               LAW     GROUP,                  PLLC
         ATTORNEYS               FOR         DEFENDANT                    JESSICA           BOISSARD
         742     VETERANS                 MEMORIAL                      HIGHWAY

         HAUPPAUGE,                   NEW YORK                    11788




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         JOHN     DOE
         74 YARNELL            STREET
         BRENTWOOD,                NY   11717


         JUSTIN     N.     LITE,    ESQ.
         AS REFEREE
         212   HIGBIE        LANE
         WEST     ISLIP,      NY    11795


         OCCUPANTS
         74 YARNELL            STREET
         BRENTWOOD,                NY      11717




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                                                                           .'<     Ii         I iI~II
                                                                                                                                          At     an IAS             Term,           Part           1, of the              Supreme
                                                                                                                                          Court           of    the        State       of      New             York,          held      in
                                                                                                                                          and         for       the        County              of           Suffolk,           at      the
                                                                                                                                          Courthouse                       located                 at        400           Carleton
                                                                                                                                          A               e, Central                Islip,         NY          11722           on      the
                                                                                                                                              I I I
                                                                                                                                                            ay of                     {\_               \              , 20_




              P R E S E             N    T:


              Hon.       C. RANDALL                     HINRICHS
              Justice        of the       Supreme            Court                                             Or}l


                                                                                              Ol"'
              SUPREME                 COURT             OF THE              STATEOF                  NEW YORK
              COUNTYOF                        SUFFOLK.
              -------------------------------------------------------------------------X                                                   â€”

              THE           BANK           OF         NEW          YORK                 MELLON                  FKA           THE                      Index          No.:          600922/2015
              BANK             OF       NEW        YORK,                  AS        TRUSTEE                     FOR           THE
              CERTIFICATE                        HOLDERS                   OF           THE          CWABS                  INC.,
              ASSET-BACKED                            CERTIFICATES,                          SERIES             2007-1
                                                                                                                                                            A
                                                                                                                                                                                ED:                 NAY                  -8
                                                                                                                                                                                                                                    m
                                                                                                                      Plaintiff,                                                         Sr)
                                                              -against-                                                                                          JUDGMENT                                          OF
                                                                                                                                                            FORECLOSURE                                      AND           SALE
              BALDEO    RAMSAMOOJ;        JESSICA                                                       BOISSARD;
              JOHN   DOE (Name  Refused);                                                                                                              Premises              Address:
                                                                                                                                                       74 YARNELL                            STREET
                                                                                                                                                       BRENTWOOD,                                  NY         11717

                                                                                                               Defendant(s),
  IcC   pc'
              ------------------------------------------------------------------------x
                                                                                                                                                                                                                                 of'
                             Upon        the     reading         of the          Notice         of Motion               dated        September                   22,       2017,         the        Affirmation                  of


                             Tyne       Modica,             Esq.     of    Rosicki,             Rosicki           &     Associates,                   P.C.,      dated          September                      22,       2017,


              the    Summons,                 Complaint            and     Notice            of Pendency                  of Action               filed        on     January                30,    2015,            and       proof


              that    all    Defendants               have      been       duly         served          and      the     Affidavits               of      Service            were        duly           filed,         and      more



              particularly            referred         to    in the       Affirmation                of Regularity                   of    Robert              H.     King,          Esq.          signed            on


              December              3, 2015,          from      which            Affirmation              it appears               that        this     is an action                 to foreclose                    a


              mortgage            upon         real   property            situate         within         the     territorial          jurisdiction                    of     this      Court;               that     the      whole


              amount          thereon,           as alleged          in the         Complaint,                 is presently               due         and       owing,         with           interest             thereon,            as


              therein        alleged'„and              upon        the    prior         Order        of this          Court        appointing                   a Referee              to ascertain                    and




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                          compute            the    amount               due      the       Plaintiff,         and      to examine                and       report           whether             the        mortgaged


                          premises            can    be sold              in    one        parcel,       by     which         report,          filed        simultaneously                       herewith,               the     Referee


                          has      reported         that         the     sum         of    $372,554.75                is due        and        owing         to Plaintiff                 as of        October            30,        2015;


                          and      that     the     mortgaged                  premises              should          be sold         in one          parcel;          that        the     time        for      each       defendant                 to


                          answer          or move               with      respect            to the      Complaint               has       expired;            that     none            of the         Defendants                is an



                          infant,         incompetent                  or absentee,                and       that     all   Defendants                 are     in default                except             Jessica          Boissard,


                          who       appeared           herein             by     her       attorney           and     interposed               an answer               that        was      later       stricken               and


                          deemed             the      usual              appearance                      and        waiver           in       foreclosure                    by     this         court,           however,                all


                          Defendants               have          received             notice         pursuant           to CPLR               § 3215          as the          action        herein             is more           than


                          eleven          months          old;          and     the        same       having          regularly            come         on to be heard                      before             this     Court,         and


                          after     due      deliberation;
                                                                                                                                                                                                                                                         p, ~(g
                                          NOW,         on        motion           of ROSICKI,                       ROSICKI               &    ASSOCIATES,                          P.C.,        attorneys               for    Plaintiff
           j'                                                                                                                                                                                                                                   ~ -(tx,tt'r '.d
  LK
                          it is


                                          ORDERED,                       ADJUDGED                        AND          DECREED,                    that       the       report            of Justin            Lite,      Esq.        dated


                          September                1, 2017,            be,     and         the    same        is hereby,            in all      respects,             ratified            and     confirmed;                   and      it is


                          further


                                          ORDERED,                        ADJUDGED                        AND          DECREED,                      that      the      date        of     service             of Notice             of     Entry


                          of      Order       of    Reference                  upon         the      designated              Referee,            the     owner           of        the     equity            of   redemption,                      any


                          tenants          named           in     this        action         and               other        party         entitled          to notice              be deemed                   timely           served             and
                                                                                                      any


                          amended             nunc     pro             tune     to        have     been        completed              within           20    days        of       entry         and       no      less than
                                                                                                                                                                                                                  ·less               30         days



                          prior      to any         hearing              before           the     Referee;           and     it is further


                                                                          ADJUDGED                       AND          DECREED,                     that the mortgaged       premises described                                                     in
                                          ORDERED,                                                                                                           '
                                                                                                                                     t+ ~~                             rxg.      ye
                                                                   p, t tr ~ xa ( g 0 j ~ps                   y I- g~       3~                    j w ~: ~"- + f'M'> Md +tr i ebp L 1 3 tsI. )
                        ,' the                             as hereinafter                       described,           be sold         in one          parcel,          subject             to any        real          estate     taxes,                     s ce c s.
                                   Complaint,

  ~(   /                                                                                                                                                                                                                                                  tins%
  id*~                                                                                                                                                                                                                                                            oi-+~
                    ~                                water             rents      and        sewer        rents,        unless        same        are due             and         payable           on the            date      of sale,           or
                          assessments,
                (




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            I




                any      adjourned                  date         thereof,               irrespective                  of the        date       upon            which             same           have         become                  or may              be a


                lien     upon       the        said        premises;                     prior         mortgages,                  liens      and         judgments                   of record,                   if any,           zoning


            restrictions                  and        any          amendments                        thereto,              according                to    law,        and        now         in force;               subject                to the         state


            of         facts     an accurate                      survey            may            show;            covenants,              restrictions,                  agreements,                       reservations                        and


            easements                   of     record,                if any,           and        to any           and     all     violations                 thereof;            any          and        all     building                 and         zoning


            regulations,                     restrictions                    and         ordinances                  of the        municipality                      in which               said       premises                    are        located,


            and          violations                and/or              liens        of       same,           including,             but      not         limited           to,     reapportionment                                 of     lot     lines,


            and          vault      charges,                if        any;      any          and       all     orders        or requirements                           issued           by       any         governmental                          body


            having             jurisdiction                     against             or affecting                    said     premises                   and      violations                of    the        same;             the         physical


            condition               of any            buildings                     or structure                    on the         premises               as the        date          of     closing,               as purchaser


            assumes               all     risk        of        loss         or damage                 to the          premises              from             the    date        of the          foreclosure                       sale         until        the


            date          of closing                and          thereafter;                  rights          of tenants             or occupants                     in possession,                         if    any;         the        rights            of



            any          Defendants                  pursuant                   to CPLR                 §§ 317,            2003        and          5015,           if any;         and          other            conditions                    as set


            forth          in the        terms             of        sale;      any          sale      to be held                 hereunder               will        be subject                 to the            rights            of     the     United

                                                                                                                                                                                                      H+LL"
            States             of America                  to redeem,                        if any;          at public            auction              at
                                                                                                                                                        atjgLtp             TOWN                      HALE
                                                                                                                                                          655          MAIN                STREET                       -     . by
  u\                                                                                                                                                                                    , ,         _.-                                    and      under
                                                                                                                                                               ISLIF,               N r          I 1/
                                                                                                                                                                                                            g14
            the         direction             of     Justin             Lite,           Esq.;       that       said        Referee           give         public           notice            of the              time        and          place         of


            said         sale     according                      to    law         and        the      practice            of this          Court             in the
                                                                                                                                                                                                       I

                                         Ogs         s,
                                                                 I     6rtmy                       73M          ,     f a fog         SE            >, , that         the        Plaintiff             or any               other                        to
                                                                                                                                                                                                                                           party


            this         action         may          become                  the        purchaser               at such            sale;      that        in the        event              the     Plaintiff                 shall         become                 the


            purchaser                   at said           sale,         it shall             not    be required                   to make               any         deposit           thereon;               that           said        Referee


            execute              to the            purchaser(s)                         on    such           sale     a deed         or deeds                 of the        premises                  sold;         that        all       deed



            stamps,              transfer             taxes             and        recording                  fees,       if any,          shall        be paid            by     the       purchaser;                      that        the      Referee



            on receiving                      the     proceeds                     of     sale      shall           forthwith          pay          therefrom                 the      taxes,          assessments,                           water




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                        rates      and        sewer         rents           or environmental                          liens             which             are      liens        on the         premises                  and      are due          and


                        payable          as of        the     date           of      sale     with       such         interest                 or penalties                     which                                            have        accrued
                                                                                                                                                                                              may            lawfully


                        thereon          to the        day        of        payment,            that         the     Referee                   then         deposit             the     balance               of    the     proceeds            of      this

                    )                                                                                         '
                        sale     in his/her            own          name             as Referee               in      SA            Log                             octa           W ; ft1                    L                              and     shall


                        thereafter            make          the        following               payments                  and            his     checks              drawn             for    that        purpose             shall      be paid            by
           l
                        the     said     depository,                   to     wit:


                                       FIRST:             The          Referee               shall      pay         a sum               not        exceeding                 $500.00,                  the    amount             allowed           by

                ,' CPLR                                to the               said      Referee           as his           fee                               In the          event         a scheduled                  sale is cancelled                        or
                                       § 8003,                                                                                      herein;

                                                                                                                                    '
                                                                                                                                                   4r«                    mee                mo4a
                                                                                                                                                                                                                  Q.ppss'
                                                                                                                                                                                                                  rq pu '
                                                                                                                                                                                                                          use                   +          tv-«
               l,
                        postponed,              pursuant                to CPLR                § 8003(a),                 P
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                           mm        of
                                                                                                                               (Lt                   p     +i+             fg
                        $                                                                                                                                                                                                                       4uch


                        c                                                                                                                                                        acos              o                                                 shall


                        c                                                                                                                                                                                                   n.


                                       SECOND:                     The            Referee            shall     pay        the            expenses                 of      the     sale       and        advertising                expenses               as


                        shown          on bills         presented                    and      certified             by     the           said        Referee               to be correct.


                                       THIRD:                The            Referee           shall          pay     to Plaintiff                        or his          attorney            the        sum        of    $372,554.75,                being


                        the     amount           due        as aforesaid,                    together              with        interest                   to the         date      of the          sale        directed           herein           or to the


                        date     of the         delivery               of     the       Referee's             Deed,            whichever                         is later,        or so much                      thereof         as the      purchase



                        money          will      pay        of the            same.
                                                                                                                                                                                                                                 { 8"~ Q V",'~~            4'y
                                       FOURTH:                      The            Referee           shall         pay        the        sum             of $                           7               , astaxed·4y4he-C4eek-ef
                                                       0'le       6-

                        t       rnmt          and     hereby                aajudged                to the         Plaintiff                 for         costs      and         disbursements                       in this        action,         with


     5(:                interest         thereon            from            the      date      hereof,             together                   with         such          advances             as the           Plaintiff           shall      have
-g

                        made       for        mortgage              insurance                 premiums,                   fire          and          other         casualty             insurance,                  and      such       other



                        expenses              incurred,                                       but     not      limited                  to     repairs,            maintenance,                        boarding             and      securing             the
                                                                   including


                                              and      payments                    on       account           of prior              mortgages,                      if     any,       with         interest             at the     contract          rate
                        premises,




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          thereon,          for     the     protection                   of    the     said        premises,               or so much                   thereof          as the          purchase                                  of the
                                                                                                                                                                                                                money


          mortgaged               premises                will      pay         the     same;           together           with       an additional                      allowance                   of $300.00,                hereby


          awarded           to Plaintiff                 in      addition             to the        costs        and       disbursements,                        with     interest              thereon              from        the
                                                                                                        46~0@.<
          date     hereof;          together              with          the     sum          of    $1m                      for      Plaintiff's                 attorney's               fees        and      expenses
                                                                                                                                                                                                                                            c<H

                                                                                                                                                                                                                                              ),5c.
          which          sum       shall        be added                to     and     made             a part      of the judgment                           herein;         and            it is further


                         ORDERED,                         ADJUDGED                           AND           DECREED,                       that      the        Referee             at the        time         of      sale     shall


          accept         a written           bid         from          the     Plaintiff            or the         Plaintiff         s attorney,                 just     as though                   Plaintiff             were


          physically              present           to    submit              said      bid,       and      it is further



                         ORDERED,                         ADJUDGED                           AND           DECREED,                       that      the        Referee             shall        conduct               the


          foreclosure              sale      only         if Plaintiff,                its     successors              and/or          assigns,                or its     representative                       is present              at


          the     sale     or the         Referee             has        received              a written            bid     and      Terms               of    Sale       from           Plaintiff,            its     successors


          and/or         assigns,          or     its     representative;                         and     it is further
                                                                                                                                                 -!..                     ~ (~sf'g'             gbs,u
                                                                                                                                                                                                                                                          o
                                                                                                                                     'p+~                         ~                                           se~d
                                                                                                                                                        I                                                                      "~           r QA.o' ~ ~~

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      /                  ORDERED,                        ADJUDGED                            AND           DECREED,                       that      in case             the    Plaintiff               be the          purchaser
                                                                                                                                                                                                                                                          +Y   ~
          of said        mortgaged                  premises                  at said        sale,        or in the         event         that          the     rights        of        the    purchaser,                or    its


          assignee,            shall       be assigned                   to and            be acquired                by    the      Plaintiff,               and       a valid           assignment                   thereof


          filed     with         said      Referee,               said        Referee             shall     not      require          the        Plaintiff              to pay          in     cash      the         entire


          amount           bid     at said          sale,         but        shall      execute             and      deliver         to the             Plaintiff         a deed               or deeds              of the


          premises           sold       upon            the      payment               to said            Referee          of the         amounts                specified               above          in items              marked


          "FIRST"                       "SECOND"
                             and                                        and      the       amounts            of     the       aforesaid                taxes,        assessments,                     water          rents        and


          sewer      rents,         and         interest           or penalties                   thereon,           or in lieu           of      the         payment              of    said        last     mentioned



          amounts,             upon                       with          said         Referee            receipts           of the      proper               municipal               authorities                showing               the
                                           filing


          payment           thereof;             or an affidavit                             Plaintiff            setting         forth        that         payment            has            been      made;           provided
                                                                                      by


          however           Plaintiff             shall          not     be     required                to pay       said       taxes,         assessments,                    water            rents        and       sewer



          rents,     unless            same         are       due        and     payable                on the       date       of    sale,        or any             adjourned                 date        thereof,




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         irrespective               of     the       date       upon          which          same          have       become               or may          be a lien           upon         the      said            premises;


         that     the     balance              of the           amount          bid,     after            deduction              therefrom              of the         aforesaid            amounts                   paid        by


         the      Plaintiff          for     Referee's                fees,      advertising                   expenses             and     taxes,         assessments,                   water           rates         and


         sewer          rents,       shall       be allowed                   to the         Plaintiff            and      applied           by the         Referee            upon        the       amounts                  due      to

                                                                                                                           "THIRD"                         "FOURTH;"
         the      Plaintiff          as specified                   above          in   items         marked                                      and                                  that        if,        after      so



         applying             the     balance               of the         amount            bid,         there     shall         be a surplus                over      and       above           the         said      amounts


                                                                                                                                                                                                                      Referee'
          due      to the         Plaintiff,           the        Plaintiff          shall          pay     to the         Referee           upon         delivery            to it of the               said         Referee's


         deed,        the     amount             of        such       surplus;          that         the       Referee           on      receiving            said      amounts             from              the     Plaintiff


          shall      forthwith             pay        therefrom                said     taxes,             assessments,                   water        rates,         sewer      rents,         and           interest          or


         penalties            thereon,               unless          the      same      shall         have         already            been        paid,         the    Referee            shall          then         deposit          the


          balance           in said          depository                as hereinabove                          directed;           and      it is further



                         ORDERED,                          ADJUDGED                      AND               DECREED,                         that at the foreclosure                        sale          the         Referee
                                                                                                      (.
                                                                                                           g ta~)        t %-uM          t'r'iratd 4 t 1-Q

         appointed                to conduct                the      sale      is required                 to fr½eut              theforeclosure                      Action          Surplus             Monies               form
                                                                                                                                        g'
                                                                                                                                           p,('f.z i ttt.(,'~Q

                                               4!'


         the-Refer-se      with     both     the Suffolk                                County              Clerk          and      the     Supreme              Court         Calendar                  Clerk         within          30
                  P' u gin at ' nit..rn d t." i a'-

         days        Tdie-FereelosureAction                                                                                                                             wl                         naMustise's


                                                                                                                                                                                                         in      i             nd,


         up                   o                                                                                                                                                                                           ar


         C-4erk-ne-                =†har         a         on     ar "FP"                                  nece                    If the
                                                                                                                           ry                   sale      results        in    surplus            funds,              in addition
                                                                                                          oJ      cm        sonw            tvwo
                                                                                                                                                                               toy
                                                                                                                                                                                            L       up
         to filing          the form,                the    Referee            must          file     proof         of deposit              with        the                      T+eaewer-bebt                          with         the
                                                                                                                                                                 County
                                                                                                                                                                                 ti~)'C

         County           Clerk          and         Supreme               Court        Calendar                 Clerk          within       30 days             of    closing         title.      Ne-further


         appear-ancess                     a                                                                                                                                                                                      ; and


         it is further



                        ORDERED,                           ADJUDGED                      AND               DECREED,                      that     by      accepting            this       appointment,                       the




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          Referee           certifies           that      she/he          is in compliance                        with       Part        36 of the            Rules           of    the       Chief      Judge             (22


          NYCRR                                                                                                                                         ("
                                 Part     36)     including,              but      not     limited           to Section                36.2(c)          ("Disqualification                            from

          Appointment"                                                                     ("                                                                                                 Compensation"
          Appointment")                     and         Section          36.2(d)           ("Limitations                   on Appointments                          Based              on     Compensation");


          and      it is further


                           ORDERED,                      ADJUDGED                         AND          DECREED,                        that      said        Referee            take         the     receipts            for       the


          money            so paid         out     by      him,        and       file     it with       the        Report           of    Sale;        that      he deposit                  the      surplus            monies,


          if any,         with      the             (       (~         'lk         3       6      )               b      mg
                                                                                                                                  Å e • l'Icr(-r


          within          five      days        after      the     same         shall       be received                  and      be ascertainable,                           to the        credit      of this           action,


          to be withdrawn                       only       on the         Order          of this        Court,           that       the    Referee              shall         make           a report          of    such          sale


          and      file     it with        the     Clerk          of     the    County            in which               this     action         is pending,                   with         all     convenient


          speed;          and      it is further


                           ORDERED,                      ADJUDGED                         AND          DECREED,                        that      if the        proceeds                of such          sale        be


          insufficient              to pay         the     amount              so reported              due           to the      Plaintiff            with       the         expenses              of the      sale,


          advances,               attorney's             fees,     interest,             costs        and     allowances,                  as aforesaid,                  the      Referee             shall        specify


          the     amount            of such            deficiency               in the         Report         of      Sale       and      that     the        Plaintiff            recover            of the


          defendant(s)                  BALDEO                   RAMSAMOOJ                            the     whole             deficiency              or     so much                thereof         as the         Court


          may       determine              to be just              and       equitable            of the           residue          of the        mortgage                debt         remaining               unsatisfied,


          after     a sale         of the        mortgaged                   premises            and        the     application               of the          proceeds                thereof,          provided               a


          motion           for     a deficiency                  judgment               shall     be made                as prescribed                  by      Section            1371            of the      Real



          Property           Actions             and      Proceedings                    Law,         and     the      amount             thereof            determined                 and         awarded              by     an


          Order           of this       Court           as provided              for      in said           section;            and      it is further



                           ORDERED,                      ADJUDGED                         AND          DECREED,                        that      the     purchaser(s)                     at said       sale        be let


          into     possession               on production                      of the       Referee's               deed         or deeds;             and      it is further



                           ORDERED,                      ADJUDGED                         AND          DECREED,                        that      each         and       all    of the             Defendants,                 in this




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                                                                       INDEX NO.                                                                                                                                  600922/2015
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                                                                                                                                                                       IN DEX NO.             600922      /2015

  NYSCEF   DOC.      NO.        80                                                                                                                         RECEIVED           NYSCEF:           10/02/2017




                                                                                                  Schedule                   A

             Title     Number:                12-006142




             ALL           THAT               CERTAIN                 PLOT,            PIECE            OR       PARCEL               OF       LAND,          with         the      buildings          and
             improvements                     thereon          erected,           situate,    lying      and        being     in the Town            of islip,       County         of Suffolk         and
             State         of    New          York,       known             and      designated           on     a certain           map       entitled,      "Map           of    Victory       Farms,
             Section            No.     2",    developed              by Frederick            Farms,           Inc.,    258 Broadway,                New     York          City,    surveyed         June
             1945      by George                   H.    Walbridge                Company,            Civil     Engineer          and      Surveyors,         Babylon,  New York   and
             filed    in the Office                 of the Clerk              of the County    of Suffolk                    as Map        Number           1440 on August 22, 1945 as
             and      by Lot           No. Sixteen              Hundred          and Sixty-two    (1662).


             BEGINNING                        at   a point            on     the     Southerly          side        of Yarnell          Street,      300.00         feet     Easterly         from     the
             intersection               of the Southerly                   side     of Yarnell         Street       and     the Easterly           side of Nimitz            Avenue;


             RUNNING                    THENCE                 along   the Southerly                  side      of Yarnell           Street,       North      73 degrees            18 minutes            50
             seconds            East,     75,00         feet     to a point;


             RUNNING                   THENCE              South           16 degrees         41 minutes               10 seconds        East,      124.83       feet to a point;


             RUNNING                   THENCE              South           68 degrees         07 minutes               10 seconds        West,      75,08     feet to a point;


             THENCE                   North        16 degrees              41 minutes         10 seconds             West,       128.24     feet     to the Southerly               side     of Yarnell
             Street        to the point               or place        of BEGINNING.




                                         District:             0500                Section:       136.00                    Block:       01.00               Lot:     075.000




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          action      and     all     persons              by,     through          or claiming               under         them      or any           or either         of     them,         after    the



          filing   of the       Notice            of       Pendency               of this       action,        be and          they       hereby          are   forever              barred      and


          foreclosed          of all         right,        claim,         lien,      title     interest           and   equity        of redemption                 in        said     mortgaged


          premises,         and       each        and           every      part     thereof;           and        it is further
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 't5~
                       That         a description                  of the         said       mortgaged             premises           hereinbefore               mentioned                   is annexed


          hereto      and     made           a part         hereof         as Schedule                 A.


                       Said        premises            being            known            as and        by    street        address:         74 YARNELL                    STREET,


          BRENTWOOD,                         NY        11717             and      bearing        tax        map      designation:               District:          0500          Section:             136.00


          Block:       01.00          Lot:        075.00.

                            g(~'
          Dated:                                       I                )-04
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                                                                                                              HON.               C RANDALL                               HINRICHS
                                                                                                                           Justice                 e Supre                C




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           SUPREME                    COURT                 OF THE              STATE               OF       NEW YORK
           COUNTY                  OF Suffolk
           ----..------------........._________-______________-----------..----------X

            THE        BANK              OF NEW                  YORK              MELLON                    FKA       THE
            BANK    OF NEW YORK,  AS TRUSTEE  FOR                                                                     THE
            CERTIFICATE   HOLDERS   OF THE CWABS                                                                      INC.,                    Index   No.:   600922/2015
            ASSET-BACKED                               CERTIFICATES,                                SERIES            2007-1,


                                                                                                         Plaintiff,                            COSTS      OF PLAINTIFF

            -against-


            BALDEO                  RAMSAMOOJ,                             et al.,


                                                                                                         Defendants

                                                                                                                                          -x
           Costs       before           Notes          of     Issue       filed,
           CPLR            S 820110..........................................................$200.00
                                          .


           Additional               Allowance                        Statute          - CPLR              §8302(a)(bh
                                                              by


           addl.(not            exceeding                $200)           $200         at 10%...$20.00
           addl.(not            exceeding                $800)           $800         at     5%...$40.00
            "
                (not         exceeding               $2000)            $2000           at 2%...$40.00
            "
                (not         exceeding               $5000)            $5000           at 1%...$50.00........$150.00


           Additional              Allowance                         Statute          - CPLR                    8302fd      n..$50.00
                                                              by                                         ]


                                                                                   FEE S AND                     DISBURSEMENTS

           Fee for          Index         Number        and Filing             Lis Pendens
           CPLR            §8018(a),             §8021(a)(10)....................................$480.00
                                                                                                  .. „...,....,...$480.00
           Paid      for     searches.                                                     ,.........„.„.....                   $559.67
           Serving           copy        of summons                    and      complaint
           CPLR            § § 8011(c),   8301(d)...........................................$625.00 „.,$625.00
           Request           for Judicial   Intervention............................... ...,       ....  $95.00
           Referee's            fee     (CPLR       § 8301(a)(1),                 §8003(a))............                         $250.00
           Certified           copy         of judgment.........................................                                 $4.00
           Motion           fees.................................................................                                $90.00
           Clerk's         fee,     re-filing           notice          of pendency.....................                        $220.00
                                                                                                                                _______-.-----

                                                                                                                                 $2,723,67
          Taxed        at $         2       / él3        d/7                     this                           day   of                                      20




                                                                                                                                Clerk




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          SUPREME                  COURT             OF THE               STATE         OF     NEW YORK
          COUNTY                 OF SUFFOLK
          ---------------------------------------------------------------------x
          THE       BANK            OF      NEW YORK                       MELLON              FKA             THE
          BANK           OF       NEW         YORK,           AS TRUSTEE                      FOR           THE
          CERTIFICATE                     HOLDERS                   OF THE              CWABS               INC.,
          ASSET-BACKED                                                                SERIES               2007-
                                                 CERTIFICATES,
          1,


                                                                                                        Plaintiff,                               Index      No.:      600922/2015


                                                                          -against-                                                              AFFIDAVIT                   OF MAILING


          BALDEO                 RAMSAMOOJ,                       ET.       AL.,


                                                                                                        Defendant(s).
          ---------------------------------------------------------------------x
          STATE          OF       NEW YORK                            )
                                                                      )               ss.:
          COUNTY                 OF DUTCHESS                          )


                        Heather           Bazzo,         being        duly         sworn,      deposes               and     says:


                        I am not           a party        to this         action,       am over             18 years         of   age      and   reside     in Dutchess             County,
          New       York.


                        On June            11, 2018,           I served            a Judgment                  of Foreclosure              and   Sale     with      Notice     of    Entry      to
          defendants             who       have        appeared             in this     action,           by     depositing           a true     copy     thereof       in   a post-paid

          wrapper,          in    an official           depository              under        the        exclusive          care      and    custody       of the      U.S.    Postal         Service
          within       New         York       State,      addressed                to each         of    the     following           persons      at the     last    known          address      set
          forth     after        each     name:




          BALDEO                 RAMSAMOOJ
          11716        111TH            AVENUE
          SOUTH             OZONE             PARK,           NY          11420


          ERNEST              E. RANALLI,                    ESQ.
          THE       RANALLI                 LAW          GROUP,              PLLC
          ATTORNEYS                     FOR      DEFENDANT                         JESSICA              BOISSARD

          742      VETERANS                   MEMORIAL                       HIGHWAY
          HAUPPAUGE,                      NEW YORK                        11788


          JOHN         DOE
          74 YARNELL                    STREET
          BRENTWOOD,                        NY       11717




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          JUSTIN             N.      LITE,        ESQ.

          AS REFEREE
          212     HIGBIE               LANE
          WEST          ISLIP,             NY     11795


          OCCUPANTS
          74 YARNELL                        STREET
          BRENTWOOD,                            NY     11717




                                                                          Heff    er Bazzo


          Sworn         to        before        me on this
          11"¹
                  day        of     June,       2018




                        N              kY       PUBLIC



                                     Brigitte     Morgan
                                                Stoddard
                             Notary         Public,
                                          State of New York
                         Qualified    in Orange
                                                   County
                       Registration     No. 01ST6342109
                    Coommission
                                    expires May 16, 20




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         Index   No.:    600922/2015


         SUPREME          COURT        OF THE       STATE             OF       NEW YORK
         COUNTY         OF SUFFOLK


         THE     BANK      OF   NEW YORK            MELLON                     FKA           THE     BANK
         OF NEW         YORK,  AS TRUSTEE     FOR THE CERTIFICATE
         HOLDERS          OF THE CWABS    INC.,  ASSET-BACKED
         CERTIFICATES,            SERIES     2007-1,


                                                                  Plaintiff,


                                             -against-



         BALDEO         RAMSAMOOJ,            ET.     AL.,


                                                                  Defendant(s).




         _____________________________________________________________________________________________________________________

                  JUDGMENT              OF FORECLOSURE                                  AND        SALE           WITH        NOTICE    OF ENTRY
         _____________________________________________________________________________________________________________________




                                           ROSICKI,               ROSICKI                     4 ASSOCIATES,                     P.C.


                                                                     Il
                                                             /
                                                                   i'I
                                             By:
                                                                  Lauren              G. Bernard,              Esq.
                                                                   Attorneys                 for   Plaintiff
                                              Fishkill           Office          2 Sununit            Court,          Suite   301

                                                                          Fishkill,          NY     12524
                                                                               845.897.1600

                                                                    R,R&A               ¹:    12-006142




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